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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF FLORIDA
                                  PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                                     CASE NO.: 3:08cr79/MCR

CLAUDIA CONSTANCE HIRMER,
MARK STEVEN HIRMER,
EUGENE JOSEPH CASTERNOVIA,
ROBERT LEIGHTON PENDELL,
ELLEN MEREDITH STUBENHAUS,
ARNOLD RAY MANANSALA,
DOVER EUGENE PERRY,
MICHAEL GUY LEONARD,
MARK DANIEL LEITNER,
ARTHUR RAMIREZ MERINO,
and
JEFFRY JEAN JENKS
                                                         /

                                                   ORDER
        This matter is before the court on the government’s motion to dismiss certain counts
of the indictment, to dismiss certain overt acts from Count One, and to correct a statutory
citation. (Doc. 728). Defendants, Mark and Claudia Hirmer oppose the government’s
motion in part.1 (See doc. 729). Upon consideration of the foregoing, as well as the
government’s reply (doc. 796), it is hereby ORDERED that the government’s motion is
GRANTED as follows:
        1.       Counts Four through Fifteen of the original indictment are hereby dismissed
with2 prejudice as against all remaining defendants, except Ellen Stubenhaus.


        1
            Specifically, the Hirm ers object to dism issal of counts 4, 5, 6, 7, 8, 10, 11 and 13 if the dism issal
is to be without prejudice, and objects to the correction of the “scrivener’s error” without the court’s review of
the applicable grand jury transcripts. (See doc. 729).

         2
           Though the governm ent initially requested that counts 4-15 be dism issed without prejudice, in reply
to the Hirm ers’ objection, the governm ent represents it has no objection to dism issal with prejudice as to the
wire fraud charges. (See doc. 796).
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       2.     Count Two, and the accompanying forfeiture counts, are hereby dismissed
without prejudice as against defendants Mark Leitner, Arthur Merino, and Jeffry Jenks.
       3.     Defendant Jeffry Jenks is released from the supervision of the Court and the
U.S. Probation and Pre-Trial Services Office immediately.
       4.     The overt acts enumerated 4, 13-15, 19, 21, 28-29, 31-32, and 38 are
dismissed from Count One of the indictment. It is further ORDERED that the last sentence
of overt act 44 is dismissed from Count One of the indictment. It is further ORDERED that
the language “who had been indicted in the District of Washington in 2004” in overt act 47
is dismissed from Count One of the indictment.
       5.     The government’s request to correct the citation to 18 U.S.C. § 982(a)(2) in
the forfeiture count of the indictment is GRANTED, and that the indictment shall instead
reflect a citation to 18 U.S.C. § 982(a)(1).
       DONE and ORDERED this 8th day of February, 2010.




                                               s/   M. Casey Rodgers
                                           M. CASEY RODGERS
                                           UNITED STATES DISTRICT JUDGE




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